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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 H.O.P.E., INC., d/b/a HOPE FAIR HOUSING
 CENTER, an Illinois Not-for-Profit Corporation
 AND ROBERT JOHNSON;
                                                        Case No. 22-cv-874
        Plaintiffs;

                         v.

 B & A ASSOCIATES, L.L.C., B&A
 PROPERTY GROUP, L.L.C., FINCH &                        Jury Trial Demanded
 BARRY PROPERTIES, L.L.C., TEAM
 REALTY SERVICES, L.L.C., VILLAGE
 PARK OF HOFFMAN ESTATES D/B/A
 VILLAGE PARK APARTMENTS LLC AND
 HUNTER ELGIN MANAGEMENT, LLC;

        Defendants.

                                         COMPLAINT

       Plaintiffs, H.O.P.E. INC d/b/a HOPE FAIR HOUSING CENTER (“HOPE”) and Robert

Johnson, bring this action against a group of related entities that own and manage residential

multifamily dwellings doing business in the State of Illinois through various incorporated entities

named as Defendants herein, B&A Associates, L.L.C., B&A Property Group, L.L.C., Finch &

Barry Properties, L.L.C., Team Realty Services, L.L.C., Village Park of Hoffman Estates d/b/a

Village Park Apartments LLC and Hunter Elgin Management, LLC (collectively, the

“Defendants”),

as follows:

                                        Nature of Action

       1.      Plaintiff Johnson (“Johnson”) and H.O.P.E., Inc. (“HOPE”) allege that Defendants

intentionally refused to rent an apartment at the Villages on Maple in Lisle, Illinois to Johnson,



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who has no criminal convictions, based on his race, and allege that Defendants’ blanket banning

policy concerning renters with a perceived and/or actual criminal history as applied to Plaintiff

Johnson has an unlawful disparate impact on Black renters, all in violation of the Fair Housing

Act..

         2.     HOPE undertook a testing investigation of Defendants’ application of their blanket

ban policy at the Villages on Maple in Lisle, Illinois, the Village Park Apartments in Hoffman

Estates, Illinois and Hunters Ridge in Elgin, Illinois. Each of these multifamily complexes have

common ownership and management with Finch & Barry Properties, L.L.C. and share the same

principal office.

         3.     This action is brought pursuant to the Fair Housing Act of 1968, as amended, 42

U.S.C.3601 et. seq.

         4.     The United States Department of Housing and Urban Development Office of

General Counsel issued Guidance on April 4, 2016, stating “criminal records-based barriers to

housing are likely to have a disproportionate impact on minority home seekers,” and “criminal

history-based restrictions on housing opportunities violate the [Fair Housing] Act if, without

justification, their burden falls more often on renters or other housing market participants of one

race or national origin or over another.” 1

                                      Jurisdiction and Venue

         5.     This Court has jurisdiction over the subject matter of this case pursuant to 42 U.S.C.

§3613 and 28 U.S.C. §§1331 and 1343.




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    https://www.hud.gov/sites/documents/HUD_OGCGUIDAPPFHASTANDCR.PDF

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       6.      Venue is proper in the Northern District of Illinois, Eastern Division, pursuant to

28 U.S.C. §1391 because Plaintiffs reside within the District and Eastern Division, and the events

or omissions giving rise to the claims occurred in the District.

                                              Parties

       7.      Plaintiff H.O.P.E., Inc., doing business as HOPE Fair Housing Center (“HOPE”),

is a private, non-profit corporation incorporated under the laws of Illinois with its principal place

of business located at 202 W Willow Ave Suite 203, Wheaton, IL 60187, DuPage County, Illinois.

       8.      HOPE's mission includes advocating for the housing rights of communities of

color. HOPE works to eliminate housing discrimination and to ensure equal opportunity for all

people through leadership, education and outreach, membership services, public policy initiatives,

training, advocacy, investigation of fair housing violations, and enforcement.

       9.      Plaintiff Robert Johnson is a citizen of the United States residing in Naperville,

Illinois. Mr. Johnson’s race is Black.

       10.     Defendants B & A Associates, L.L.C., B&A Property Group, L.L.C., TEAM Realty

Services, L.L.C. are all Limited Liability Companies registered in Illinois and Colorado doing

business in Illinois with their principal offices located at 1305 Wiley Road, Suites 104 and 106,

Schaumburg, IL. Defendant Village Park of Hoffman Estates d/b/a Village Park Apartments, LLC

is a Colorado Limited Liability Company doing business in Illinois with its principal offices

located at 1305 Wiley Road Suite 104, Schaumburg, IL. Defendant Finch & Barry Properties

L.L.C. is a Colorado Limited Liability Company doing business in Illinois with its principal office

located at 1305 Wiley Road, Suite 106, Schaumburg, Illinois. Defendant Hunter Elgin

Management, LLC is an Illinois Limited Liability Company with its principal office located at

1305 Wiley Road, Suite 104, Schaumburg, Illinois.



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                                          Factual Allegations

       11.     In August of 2014, Plaintiff Johnson moved into the Villages on Maple at 1769

Robin Lane, Lisle, Illinois. Mr. Johnson resided at Villages on Maple in that unit without incident

until 2017, and then moved to another apartment complex not associated with any of the

defendants.

       12.     In August of 2019, after a background and credit check, Mr. Johnson moved back

into Villages on Maple where he lived without incident until March 2021. In February 2021, the

property manager at Villages on Maple, Anthony Ewald, who was the manager at Villages on

Maple during all of Mr. Johnson’s tenancies there, asked Mr. Johnson if he would be renewing his

lease. Mr. Johnson told the Mr. Ewald that he would like to downsize to a one-bedroom unit based

on a change in his family circumstances. The property manager agreed, the manager and Johnson

agreed on a particular one-bedroom unit, and the manager asked that Mr. Johnson remain in his

current unit a few weeks after the expiration of his current lease, while they renovated the agreed

upon one-bedroom unit. Mr. Johnson was informed that the property manager would run a new

credit report and background check.

       13.     On or about March 24, 2021, the property manager dropped off a new application

for Mr. Johnson to complete, which he did on March 26, 2021. On March 31, 2021, the property

manager informed Mr. Johnson that something came up on his background check and that he had

30 days to get out of his current unit.

       14.     The purported basis for the property manager’s change of mind was an old arrest

record from May 31, 2015 for possession of a licensed gun by Mr. Johnson, who was a security

guard at the time. The case against Mr. Johnson was dismissed outright in May 2016.




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       15.     Mr. Johnson called Ewald the next day and asked if he could stay in his home. Mr.

Ewald told plaintiff Johnson “No, you have to leave”. Mr. Johnson tried to tell the property

manager that the 2015 charge had been dismissed and did not result in a conviction. Mr. Johnson

went to the management office with the circuit clerk of the court representative on the phone letting

Ewald know that the case against Mr. Johnson had been dismissed before any conviction. Ewald

told Mr. Johnson that even if his case was dismissed, he would not let him stay. When Mr. Johnson

told Ewald that he shouldn’t have to move out, Ewald told him that he didn’t have to, but that he

would then charge Johnson double the rent and that he knows that Johnson could not afford double-

rent, that he wanted him out and there was nothing Johnson could do about it.

       16.     Mr. Johnson was as a result of Defendants’ discriminatory unlawful conduct forced

to move out of his unit at the Villages on Maple during the middle of the Covid-19 pandemic crisis.

       17.     Mr. Johnson contacted plaintiff HOPE for help with his concern that his fair

housing rights had been violated. After talking with Mr. Johnson, HOPE began an investigation

into the matter, including having its testers contact Villages on Maple, Village Park Apartments

and Hunters Ridge, all owned and operated by Defendants. HOPE tested each of these multifamily

complexes because it had determined that there was a common management/ownership between

them, and they were all in HOPE’s service area.

       18.     On June 13, 2021, a tester contacted Villages on Maple and inquired about a unit.

Once the tester was told that he would have to pay $50 per adult for a criminal background and

credit check, he asked if people with a “felony charge” would be accepted. The agent told the

tester no. When the tester further asked even if the felony charge was five years ago, the Villages

on Maple agent said “No felonies at all ever”.




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       19.     On July 14, 2021, a different tester contacted Villages on Maple and was also told

he would be rejected if there were any felony charges at all, regardless of how long ago they

occurred and would also be rejected if he had a misdemeanor charge in the last five years.

       20.     On June 22, 2021 and July 16, 2021 respectively, two different testers contacted

Village Park Apartments, Hoffman Estates, Illinois. The first tester, Black, was told that they

would most likely be declined for a felony charge without a conviction that was within seven years.

The second tester, White, was told that she may be declined if the felony charge without conviction

was within five years.

       21.     On July 19, 2021, a tester contacted Hunters Ridge Apartments, Elgin, Illinois and

was told by the agent that if a felony charge showed up on the background check it would be an

automatic denial and provided the tester with a paper that appears to provide the tenant selection

criteria for Hunters Ridge Apartment, which included a section identified as “Immediate

Disqualification” that included this disqualifier; “Criminal Records including but not limited to

Felony within 100 years, serious misdemeanors within 3-5 years”. (Exhibit A)

       22.     Defendants’ blanket banning policy concerning renters with a perceived and/or

actual criminal history has a disparate impact on Black renters.

       23.     The census data for each of the locations of defendants’ named properties shows

that Black people are arrested at a disproportionately higher level than their White counterparts.

       24.     In the Village of Lisle, the population of Black people is 4.3 percent of the total

Village population, but, during the period between June 2019 – July 2021, 27.5 % of the Village

arrests were of Blacks.

       25.     In the City of Elgin, the Black population is 5.9% while the number of Black arrests

was 25% for the period between 2019 and July 2021.



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       26.      The Village of Hoffman Estates has a Black Population of 4.7%, but had a Black

arrest rate of 28% for the period between 2019 through July 2021.

       27.     Defendants’ application of its blanket ban policy to Plaintiff Johnson and threats to

double his rent if he did not voluntarily vacate his home constitute intentional discrimination based

on race.

       28.     Defendants’ blanket ban on renting to persons with arrests or perceived or actual

criminal histories of any kind has a disparate impact on Black citizens in the locations where

Defendants’ policy is applied.

       29.     There is no substantial, legitimate, nondiscriminatory interest of Defendants to

justify their blanket ban policy, including as applied to Plaintiff Johnson.

       30.     HUD Guidance, citing Schware v. Bd of Bar Examiners,353 U.S. 232, 241 (1957),

states, “[a] housing provider with a policy or practice of excluding individuals because of one or

more prior arrests (without any conviction) cannot satisfy its burden of showing that such policy

or practice is necessary to achieve a substantial, legitimate, nondiscriminatory interest."

https://www.hud.gov/sites/documents/HUD_OGCGUIDAPPFHASTANDCR.PDF

       31.     Even a blanket rental ban policy based on prior conviction, no matter when the

conviction occurred, what the underlying conduct entailed, or what the convicted person has done

since then, violates the Fair Housing Act. Id.

       32.     Defendants’ refusal to continue to rent to Mr. Johnson is particularly egregious and

illustrates the unfair disparate impact of their blanket ban on tenants with arrest records as Mr.

Johnson lived without incident on two separate occasions at one of Defendants’ complexes,

including beginning a period of tenancy after the arrest, despite his arrest record that resulted in

zero convictions or findings of guilt.



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                                                Damages

        33.     Plaintiff Johnson has suffered loss of his civil rights, monetary losses, lost housing

opportunity, emotional injury, humiliation, and embarrassment as a result of Defendants’

discriminatory policies and conduct.

        34.     Plaintiff HOPE has been directly and substantially injured as a result of the

foregoing discriminatory acts of Defendants in that:

                A. HOPE has been frustrated in its mission to eradicate discrimination in housing

                      and in carrying out the programs and services it provides, including advocating

                      for the housing rights of communities of color, educating the public about fair

                      housing rights and requirements, educating and working with industry groups

                      on fair housing compliance, providing assistance to individuals and families

                      looking for housing or affected by discriminatory housing practices, and

                      eliminating discriminatory housing practices;

                B.    HOPE’s limited resources have been diverted from providing these services

                      to efforts directed to investigate, address, and counteract Defendants’

                      discriminatory conduct.

                                 Fair Housing Act Violation §3604

        35.     Plaintiffs reallege and incorporate the allegations contained in paragraphs 1-28 as

if fully set forth herein.

        36.     In violation of 42 U.S.C. §3604(a) and (b), Defendants’ policies and discriminatory

conduct has made a dwelling unavailable to Plaintiff Johnson and discriminated against him on

the basis of race in the terms, conditions and privileges of rental, or in the provision of services or

facilities, including but not limited to the following:



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        A.    Enforcing a blanket rental ban on potential renters;

        B.    Refusing to engage in a process with Mr. Johnson regarding his dismissed

              charges that resulted in no conviction or finding of guilt;

        C.    Threatening to double Plaintiff Johnson’s rent if he did not move out, despite

              prior successful tenancies;

        D.    Demanding that Plaintiff Johnson vacate his unit during a pandemic; and

        E.    Refusing to rent the one-bedroom unit to Mr. Johnson as promised.

 Plaintiffs demand trial by jury.

                              PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs respectfully pray that the Court grant them the following relief:

        A. Enter a declaratory judgment that defendants’ unlawful discriminatory and

             statements have injured Plaintiffs in violation of the Fair Housing Act of 1968,

             as amended, 42 U.S.C. §3604;

        B. Award such damages under the Fair Housing Act of 1968, as amended, as will

             fully compensate Plaintiff for his injuries, monetary and non-monetary,

             incurred as a result of Defendants’ discriminatory conduct as alleged herein;

        C. Award Plaintiff HOPE damages under the Fair Housing Act of 1968, as

             amended, resulting from frustration of mission and diversion of resources and

             any other relief permissible under law;

        D. Award punitive damages as are proper under law to punish Defendants for

             their malicious and recklessly indifferent conduct alleged herein and to

             effectively deter similar conduct in the future, pursuant to 42 U.S.C.

             §3613(c)(1);



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              E.   Award Plaintiffs their costs and attorneys’ fees incurred herein, pursuant to 42

                   U.S.C. §3613(c)(2);

              F.   Award Plaintiffs all other applicable relief available to them under the Fair

                   Housing Act, including but not limited to equitable relief as appropriate to

                   remedy past and future violations of the Fair Housing Act; and

              G. Grant such other relief as the Court deems appropriate.


                                               Respectfully submitted,

                                              /s/ Kelly K. Lambert
                                              One of Plaintiffs’ Attorneys

Dated: February 17, 2022
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